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8                             IN THE UNITED STATES DISTRICT COURT

9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                             No. CR S-02-0418 GEB GGH P

12           vs.

13   FERNANDO LOPEZ-CUEVAS,

14                  Movant.                                 ORDER

15                                                 /

16                  Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set

17   aside, or correct his sentence pursuant to 28 U.S.C. § 2255. Since movant may be entitled to the

18   requested relief if he can establish a violation of his constitutional rights, respondent is directed

19   to file an answer within thirty days of the effective date of this order. See Rule 4, Rules

20   Governing Section 2255 Proceedings.

21                  Respondent shall include with the answer any and all transcripts or other

22   documents relevant to the determination of the issues presented in the motion. Rule 5, Rules

23   Governing Section 2255 Proceedings. Movant’s traverse, if any, is due on or before thirty days

24   from the date respondent’s answer is filed.

25   /////

26   /////

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1                  The Clerk of the Court shall serve a copy of this order, together with a copy of

2    movant's motion, on the United States Attorney or his authorized representative.

3    DATED: October 30, 2009

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                                                         /s/ Gregory G. Hollows
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                                                         UNITED STATES MAGISTRATE JUDGE
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